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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                          GREENVILLE DIVISION

UNITED STATES OF AMERICA

   v.                                                        CRIMINAL NO. 4:09cr50

ROBERT LLOYD



                          ORDER APPOINTING COUNSEL
        Pursuant to the Order Granting Motion for Appointment of Counsel dated

February 23, 2010 (docket entry no. 91), IT IS HEREBY ORDERED that:

        1) The Office of the Federal Public Defender is hereby released from the

obligation of the representation of this defendant and any other responsibilities

concerning the above-styled and numbered cause; and

        2) Attorney Kenneth H. Coghlan, who was contacted by the Office of the Federal

Public Defender on February 23, 2010, and agreed to represent the defendant henceforth

as his counsel of record, is hereby appointed for appeal purposes.

        IT IS SO ORDERED this the 24th day of February, 2010.




                                      /s/ David A. Sanders
                                      DAVID A. SANDERS
                                      UNITED STATES MAGISTRATE JUDGE
                                      NORTHERN DISTRICT OF MISSISSIPPI
